        Case 1:13-cv-01104-TWT Document 41 Filed 04/14/16 Page 1 of 9




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SECURITIES AND EXCHANGE                      :
COMMISSION,                                  :
                                             :
                   Plaintiff                 :
                                             :
vs.                                          :
                                             :      Civil Action File No.
                                             :
INTER REEF LTD. dba                          :
PROFITABLE SUNRISE,                          :
                                             :      1:13-CV-1104-TWT
                   Defendant,                :
                                             :
                                             :
MELLAND COMPANY S.R.O.,                      :
COLOR SHOCK S.R.O.,                          :
SOLUTIONS COMPANY S.R.O. and                 :
FORTUNA-K S.R.O.                             :
                                             :
                   Relief Defendants.        :
                                             :

                        AMENDED FINAL JUDGMENT

      The Court hereby enters Amended Final Judgment in this case, nunc pro tunc

to March 16, 2016 (the date of the original Default Final Judgment [Docket No. 40]),

as follows:
        Case 1:13-cv-01104-TWT Document 41 Filed 04/14/16 Page 2 of 9




                                           I.


      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly,

Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15

U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5],

by using any means or instrumentality of interstate commerce, or of the mails, or

of any facility of any national securities exchange, in connection with the purchase

or sale of any security:


      (a)    to employ any device, scheme, or artifice to defraud;


      (b)    to make any untrue statement of a material fact or to omit to state a

      material fact necessary in order to make the statements made, in the light of

      the circumstances under which they were made, not misleading; or

      (c)    to engage in any act, practice, or course of business which operates or

      would operate as a fraud or deceit upon any person,


by directly or indirectly, (i) creating a false appearance or otherwise deceiving any

person or (ii) disseminating false or misleading documents, materials, or information

or making, either orally or in writing, any false or misleading statement in any

                                           2
        Case 1:13-cv-01104-TWT Document 41 Filed 04/14/16 Page 3 of 9




communication with any investor or prospective investor, about:


      (a)    the use of investor funds;


      (b)     the risk of the investment; and


      (c)    the existence and/or nature of any profit-generating enterprise.


      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).


                                          II.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Section 17(a)

of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the

offer or sale of any security by the use of any means or instruments of

transportation or communication in interstate commerce or by use of the mails,

directly or indirectly:


                                          3
        Case 1:13-cv-01104-TWT Document 41 Filed 04/14/16 Page 4 of 9




      (a)    to employ any device, scheme, or artifice to defraud;


      (b)    to obtain money or property by means of any untrue statement of a

      material fact or any omission of a material fact necessary in order to make

      the statements made, in light of the circumstances under which they were

      made, not misleading; or


      (c)    to engage in any transaction, practice, or course of business which

      operates or would operate as a fraud or deceit upon the purchaser,


by directly or indirectly, (i) creating a false appearance or otherwise deceiving any

person or (ii) disseminating false or misleading documents, materials, or information

or making, either orally or in writing, any false or misleading statement in any

communication with any investor or prospective investor, about:


      (a)    the use of investor funds;


      (b)     the risk of the investment; and


      (c)    the existence and/or nature of any profit-generating enterprise.


      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

                                           4
        Case 1:13-cv-01104-TWT Document 41 Filed 04/14/16 Page 5 of 9




service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).


                                            III.


      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Section 5 of

the Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any

applicable exemption:


      (a)    Unless a registration statement is in effect as to a security, making use

      of any means or instruments of transportation or communication in interstate

      commerce or of the mails to sell such security through the use or medium of

      any prospectus or otherwise;


      (b)    Unless a registration statement is in effect as to a security, carrying or

      causing to be carried through the mails or in interstate commerce, by any

      means or instruments of transportation, any such security for the purpose of

      sale or for delivery after sale; or


      (c)    Making use of any means or instruments of transportation or


                                             5
        Case 1:13-cv-01104-TWT Document 41 Filed 04/14/16 Page 6 of 9




      communication in interstate commerce or of the mails to offer to sell or offer

      to buy through the use or medium of any prospectus or otherwise any

      security, unless a registration statement has been filed with the Commission

      as to such security, or while the registration statement is the subject of a

      refusal order or stop order or (prior to the effective date of the registration

      statement) any public proceeding or examination under Section 8 of the

      Securities Act [15 U.S.C. § 77h].


      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).


                                          IV.


      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant and Relief Defendants are liable, jointly and severally, for

disgorgement in the amount of $16,799,219, plus prejudgment interest of

$1,532,033, for a total of $18,331,252.

                                           6
        Case 1:13-cv-01104-TWT Document 41 Filed 04/14/16 Page 7 of 9




      Defendants and Relief Defendants shall satisfy the obligation by paying the

ordered disgorgement and prejudgment interest to the Securities and Exchange

Commission within 14 days after entry of this Amended Final Judgment.


      Defendants and Relief Defendants may transmit payment electronically to

the Commission, which will provide detailed ACH transfer/Fedwire instructions

upon request. Payment may also be made directly from bank accounts via Pay.gov

through the SEC website at http://www.sec.gov/about/offices/ofm.htm. Defendant

and Relief Defendants may also pay by certified check, bank cashier’s check, or

United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

      Enterprise Services Center
      Accounts Receivable Branch
      6500 South MacArthur Boulevard
      Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number,

and name of this Court; [Defendant’s and/or Relief Defendant’s name] as a

defendant in this action; and specifying that payment is made pursuant to this Final

Judgment.


      Defendant and Relief Defendants shall simultaneously transmit photocopies

of evidence of payment and case identifying information to the Commission’s

                                         7
        Case 1:13-cv-01104-TWT Document 41 Filed 04/14/16 Page 8 of 9




counsel in this action. By making this payment, Defendant and Relief Defendants

relinquishes all legal and equitable right, title, and interest in such funds and no

part of the funds shall be returned to Defendant or Relief Defendants.


      The Commission shall hold the funds (collectively, the “Fund”) and may

propose a plan to distribute the Fund subject to the Court’s approval. The Court

shall retain jurisdiction over the administration of any distribution of the Fund. If

the Commission staff determines that the Fund will not be distributed, the

Commission shall send the funds paid pursuant to this Final Judgment to the

United States Treasury.


      The Commission may enforce the Court’s judgment for disgorgement and

prejudgment interest by moving for civil contempt (and/or through other collection

procedures authorized by law) at any time after 14 days following entry of this

Final Judgment. Defendant and Relief Defendants shall pay post judgment interest

on any delinquent amounts pursuant to 28 U.S.C. § 1961.




                                           8
        Case 1:13-cv-01104-TWT Document 41 Filed 04/14/16 Page 9 of 9




                                              V.


      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Final Judgment.


      SO ORDERED this 14th day of April, 2016.



                                        /s/Thomas W. Thrash
                                        Thomas W. Thrash
                                        United States District Judge




                                          9
